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 5
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 6 ANDRE RAMON WASHINGTON

 7

 8                                  IN THE UNITED STATES DISTRICT COURT
                                       EASTERN DISTRICT OF CALIFORNIA
 9

10
     UNITED STATES OF AMERICA,
11                                                           2:18-CR-00061 JAM
                                     Plaintiff,
12                            v.                             SUBSTITUTION OF ATTORNEYS
                                                             AND ORDER
13   ANDRE RAMON WASHINGTON,

14                                   Defendants.

15          Defendant, Andre Ramon Washington, hereby substitutes as his attorney of record, David

16 W. Dratman, in place of Assistant Federal Defender Michael Petrik.

17
     Dated: March 28, 2018                              /s/ Andre Ramon Washington _
18                                                      ANDRE RAMON WASHINGTON
            I consent to the substitution.
19

20 Dated: March 28, 2018                                /s/ Michael Petrik          _
                                                        MICHAEL PETRIK, AFD
21          I accept the substitution.
22
     Dated: March 28, 2018                              /s/ David W. Dratman        _
23                                                      DAVID W. DRATMAN
24                                                      ORDER
25          IT IS SO ORDERED.

26 DATED: March 29, 2018                                __________________________________
                                                        HON. EDMUND F. BRENNAN
27
                                                        United States Magistrate Judge
28

      SUBSTITUTION OF ATTORNEYS AND ORDER
      UNITED STATES V. ANDRE RAMON WASHINGTON, ET AL.
      [2:18-MJ-00065 DB]
